     Case 1:21-cr-00399-RDM Document 152 Filed 07/28/23 Page 1 of 9




                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                             No. 21-cr-399 (RDM)
         Plaintiff,
v.

ROMAN STERLINGOV

         Defendant.




 DEFENSE MOTION REQUESTING FULL ACCESS TO DEFENDANT TO
PREPARE FOR TRIAL AND TRANSFER TO AN APPROPRIATE FEDERAL
                        FACILITY
          Case 1:21-cr-00399-RDM Document 152 Filed 07/28/23 Page 2 of 9




                                                Introduction
        Mr. Sterlingov is the Defendant in the above-captioned matter whose trial is scheduled

for September 14, 2023. He is currently incarcerated pretrial at the Northern Neck Regional Jail

(“Jail”) in Warsaw, Virginia. This substandard Virginia state jail is a remote facility in rural

Virginia, making attorney access burdensome and expensive. The Jail is roughly a six-hour drive

away from his attorneys in New York City, roughly a two-and-a-half-hour drive from the

courthouse in which he is being tried, and over six-thousand miles away from his home in

Gothenburg, Sweden. Additionally, the Jail fails to return communications in a timely manner,

fails to provide access as required seven days a week, and otherwise engages in pretextual

behavior intended to thwart Mr. Sterlingov’s access to Defense counsel. The Defense has

conferred with the Government regarding this Motion and the Government takes no position.

        The Jail is a state facility, but has contracted with the federal government to house federal

detainees.1 On February 2, 2023, Superintendent Michelle Lewis of the Northern Neck Regional

Jail sent a pair of letters to Defense Counsel restricting attorney access to Defendant Roman

Sterlingov to “phone calls, video visit, or through the glass in [the] lobby area”.2 The pretext for

this was the accusation that Defense counsel attempted to smuggle in cigarettes and nicotine gum

to Mr. Sterlingov who does not smoke. This is false and any review of the video will show

Defense counsel emptying their pockets and putting the contents in the locker provided by the

Jail as Defense counsel has done countless times in federal facilities across the country over the

last decade. Before this notice, Defense counsel had been regularly visiting Mr. Sterlingov and

working on his defense with him in the attorney-client room.


1
  Agreement No. 83-95-0013 between the United States Marshals Service and the Northern Neck Regional Jail
(attached as Ex. A).
2
  Ltrs. from Northern Neck Regional Jail to Defense Counsel Restricting Attorney Access to Defendant (Feb. 3,
2023) (attached as Ex. B).
          Case 1:21-cr-00399-RDM Document 152 Filed 07/28/23 Page 3 of 9




        The Jail is engaging in conduct intended to thwart Mr. Sterlingov’s access to counsel in

order to prepare for his upcoming trial. In direct violation of his clearly constitution rights. The

Jail appears to be doing so under the misguided impression that it will curry favor with the

federal government in order to continue its lucrative contract to house federal detainees. As

previously discussed with the Court, the Jail’s transfer process for Mr. Sterlingov to this Court

prevents Mr. Sterlingov from getting any sleep before he appears in this Court. This is another

significant issue raised by the substandard conditions Mr. Sterlingov is detained under pretrial

and significantly materially impacts his ability to defend himself. This Court should order the

Jail to provide full access for Mr. Sterlingov to his defense attorneys and experts, refer the Jail

for investigation to the appropriate bodies, or in the alternative order Mr. Sterlingov’s transfer to

the federal facility in Alexandria, Virginia or another appropriate federal facility near the Court.

                                               Legal Standard
        The Sixth Amendment to the Constitution protects criminal defendants’ rights to

attorney-client communication and effective assistance of counsel. "[I]t has long been recognized

that the essence of the Sixth Amendment right is privacy of communication with counsel."3 This

District has repeatedly upheld protections on the free flow of communication between defendants

and their attorneys.4

        U.S. v. Eniola discusses the importance of attorney-client communication and the Sixth

Amendment right to effective assistance of counsel.5 Campbell v. McGruder sets out the general

framework for analyzing the rights of pretrial detainees, which includes the presumption of




3
  See Weatherford v. Bursey, 429 U.S. 545, 563, 97 S.Ct. 837, 51 L.Ed.2d 30 (1977) (Marshall, J., dissenting)
(internal quotation marks and ellipsis omitted).
4
  See U.S. v. Eniola, 893 F.2d 383 (D.C. Cir. 1990); Campbell v. McGruder, 580 F.2d 521 (D.C. Cir. 1978).
5
  Eniola, 893 F.2d at 387.
          Case 1:21-cr-00399-RDM Document 152 Filed 07/28/23 Page 4 of 9




innocence and the need to balance the detainee's liberty interests against the state's need to

protect the community.6

        In Eniola the court held that “the sixth amendment protects the defendant against

intrusions that could inhibit the free exchange of information between attorney and client.”7

When the government uses pre-textual excuses to deny access, courts in this District have

repeatedly found that improper. For example, in Hatim v. Obama, the court found that the

government's new search procedures were an exaggerated response to overstated security

concerns, and that the rationales offered by the government were but a pretext for the real

purpose, which was to restrict detainees' access to counsel.8

        The Bureau of Prisons has set standards for jailers’ conduct concerning attorney-inmate

access. BOP in-person legal visits at pretrial facilities are governed by national Program

Statement 1315.07: Inmate Legal Activities. The Policy states, in part, that the Warden may not

“limit the frequency of attorney visits since the number of visits necessary is dependent upon the

nature and urgency of the legal problems involved.”9 In addition, the Policy states that “the

Warden shall set the time and place for visits.”10 Program Statement 7331.04: Pretrial Inmates

provides additional guidance regarding access to legal resources, stating that “the Warden shall

provide the opportunity for pretrial inmate-attorney visits on a seven-days-a-week basis.”11

                 Nearly every stricture of the jail's regimen will prevent the pretrial
                 detainee from doing what he would be otherwise free to do. The
                 very conditions of confinement are additional deprivations of



6
  Campbell v. McGruder, 580 F.2d 521 (D.C. Cir. 1978).
7
  U.S. v. Eniola, 893 F.2d 383 (D.C. Cir. 1990).
8
  Hatim v. Obama, 760 F.3d 54, 57 (D.C. Cir. 2014).
9
  Report and Recommendations Concerning Access to Counsel at the Federal Bureau of Prisons’ Pretrial Facilities,
ADVISORY GROUP OF DOJ COMPONENTS § II A 1(July 20, 2023) (available at: https://www.justice.gov/d9/2023-
07/2023.07.20_atj_bop_access_to_counsel_report.pdf).
10
   Id.
11
   Id.
          Case 1:21-cr-00399-RDM Document 152 Filed 07/28/23 Page 5 of 9




                 liberty. They are also punishment, and, as the restrictions of the jail
                 accumulate, the detainees’ punishment becomes more severe.12

                                                 Argument
        Mr. Sterlingov’s pre-trial detention in the Northern Neck Regional Jail has materially

impacted his defense. The pretextual, unconstitutional behavior of his jailers has significantly

added to the time and expense involved in this defense. This is to say nothing of the Jails

substandard conditions, nutrition and medical care which is directly impacting Mr. Sterlingov’s

health. Mr. Sterlingov has been convicted of no crime yet he is being punished as if he has. The

purpose of pretrial detention is to assure the Defendant’s appearance in Court. What is happening

here goes far beyond that and is a direct violation of his constitutional rights.

        This case is a complex case involving multiple matters of first impression in relation to

Bitcoin, the blockchain and untested blockchain forensics. There is a significant volume of

electronic discovery. The Jail’s pretextual unconstitutional behavior has denied Mr. Sterlingov

access to and time with Defense counsel necessary to review the voluminous discovery in this

case and prepare his defense. Speaking with Mr. Sterlingov through “phone calls, video visit, or

through the glass in [the] lobby area”13 is insufficient for these purposes. Moreover, it puts him

under the purview of the prying eyes and ears of a Jail seeking to curry favor with its federal

contractors.

        Sec. G.2.2.b of the Federal Performance Based Detention Standards Handbook directs

facilities housing federal inmates to ensure uncensored contact with attorneys and authorized




12
   Campbell v. McGruder, 580 F.2d 521 (D.C. Cir. 1978) citing Cummings v. Missouri, 71 U.S. 277, 321-22 (1867);
Brown v. Wilemon, 139 F.2d 730, 732 (5th Cir. 1944), cert. denied sub nom., Wilemon v. Bowles, 322 U.S. 748
(1944).
13
   See Ex. B.
          Case 1:21-cr-00399-RDM Document 152 Filed 07/28/23 Page 6 of 9




representatives.14 The Jail is in direct violation of this standard just like it directly violates the

constitution with its pretextual excuses.

        The Court Should Order the Jail to Provide Full Access to Mr. Sterlingov

        Early on in the representation, Defense counsel was able to speak with Mr. Sterlingov

over Zoom through which multiple individuals would be able to speak with Mr. Sterlingov at the

same time. The jail then limited video-call access to communications through Securus. The

Securus video platform does not facilitate multiple people joining a video call and limits Mr.

Sterlingov’s video communications to a single person at a time. Moreover, the Securus software

is buggy, repeatedly glitches and is unreliable. Similarly, the phone system at the jail does not

allow users to conference in multiple callers, limits calls to 15 minutes, and the audio quality

renders the conversation inaudible and incomprehensible at points. This prevents Mr. Sterlingov

from working with his attorneys and expert witnesses in a productive manner, increases

transaction costs, and the time it takes to do everything. Likewise, communicating with Mr.

Sterlingov through glass in the jail lobby is insufficient. Defense counsel needs Mr. Sterlingov to

be able to work with them on computers to review records, provide context to documents,

contribute to the theory of defense.

                                               Conclusion
        This Court should order the Jail to provide Mr. Sterlingov’s Defense counsel immediate

and full access in the Jail’s attorney-client room to prepare for his September 2023 trial. As per

federal regulations, access should be provided seven days a week. Additionally, this Court

should order the transfer of Mr. Sterlingov as soon as possible from the punitive substandard

conditions he is being held in at the Jail to the federal facility at Alexandria, Virginia, or another


14
  Federal Performance Based Detention Standards Handbook, Rev 11, §G.2.2.b (May 2022) (available at:
https://www.usmarshals.gov/sites/default/files/media/document/detention-standards.pdf).
           Case 1:21-cr-00399-RDM Document 152 Filed 07/28/23 Page 7 of 9




appropriate federal facility near the courthouse. The current failure of the federal government to

detain Mr. Sterlingov pretrial under conditions allowing him to prepare his defense in this

complex and novel prosecution is a direct violation of his Fifth and Sixth Amendment rights

under the United States Constitution and has materially impacted and delayed his defense. If the

Government cannot provide constitutional facilities for Mr. Sterlingov’s pretrial detention, then

this Court should order his immediate release pretrial so that he can adequately prepare his

defense.
        Case 1:21-cr-00399-RDM Document 152 Filed 07/28/23 Page 8 of 9




Dated: July 28, 2023
New York, New York


                                  Respectfully submitted,

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        Case 1:21-cr-00399-RDM Document 152 Filed 07/28/23 Page 9 of 9




                               CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of July 2023, the forgoing document was filed with

the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                           s/ Tor Ekeland

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